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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF WYOMING


 STATE OF WYOMING,

                Petitioner,

        v.                                           Civil No. __________

 THE UNITED STATES DEPARTMENT OF
 INTERIOR; DEBRA ANNE HAALAND, in her
 official capacity as Secretary of Interior; THE
 BUREAU OF LAND MANAGEMENT; NADA
 CULVER, in her official capacity as acting
 Director of the Bureau of Land Management;
 and KIM LIEBHAUSER, in her official capacity
 as the acting Wyoming State Bureau of Land
 Management Director,

                Respondents.



                 PETITION FOR REVIEW OF FINAL AGENCY ACTION

       The State of Wyoming, pursuant to Local Rule 83.6, hereby petitions the Court for review

of the Secretary of Interior’s de facto moratorium on all federal oil and gas lease sales in Wyoming

and across the nation.
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                                       INTRODUCTION

       The Secretary, through the U.S. Department of Interior and the Bureau of Land

Management (collectively the Secretary), has indefinitely suspended all federal oil and gas lease

sales in response to President Biden’s Executive Order 14008, Tackling the Climate Crisis at Home

and Abroad, on January 27, 2021. See 86 Fed. Reg. 7619 (Feb. 1, 2021). Rather than taking this

action publically and transparently, however, the Secretary has instead instituted a de facto

moratorium on all federal oil and gas lease sales on the public lands through a series of individual

lease sale postponements and cancellations in Wyoming and across the nation. Regardless of the

clever scheme employed to shroud the Secretary’s action from both public view and judicial

review, this de facto moratorium in furtherance of the Executive Order is final agency action that

has already caused and will continue to cause significant and irreparable harm to Wyoming.

       The Secretary’s de facto moratorium on federal oil and gas lease sales is patently unlawful

and must be set aside. The moratorium: (1) is an unlawful mineral withdrawal under the Federal

Land Policy and Management Act; (2) violates the applicable Resource Management Plans which

have designated specific areas of the public lands as open to oil and gas leasing; (3) violates the

Mineral Leasing Act and its implementing regulations requiring quarterly lease sales; (4) violates

the Administrative Procedure Act; and (5) violates the National Environmental Policy Act by

failing to consider the environmental impacts of suspending federal oil and gas leasing before

taking that action. The National Environmental Policy Act requires federal agencies to look before

they leap, but here the Secretary did not pause to consider the many environmental and

socioeconomic consequences of instituting this moratorium. Simple belief that an action is good

for the environment does not justify skipping the environmental review required by law.




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       This moratorium might make for a nice headline about fighting climate change, but the real

consequences of the action are far from certain and far from uniformly environmentally friendly.

Had the Secretary followed the law before instituting this moratorium, this administration and the

public could have had an honest and fair debate about whether the speculative benefits of closing

the public lands to leasing outweigh the substantial costs and devastating effects on Wyoming and

the nation. Had the Secretary followed the law, the public could have had an informed debate about

whether it makes good sense and a bit of difference to move production from public lands where

the strictest environmental regulations apply, to private lands and foreign countries where the same

rules do not apply. But the Secretary ignored the law and in so doing cut the people of this country

and the several sovereign states out of the process.

       Elections do have consequences, but an election does not give the President or the Secretary

a mandate to proceed in defiance of the laws of the United States. A President cannot order the

Secretary to take far reaching actions of national consequence without any public process, fact

finding, environmental review, or even an explanation. For all these reasons, the Court should

enjoin and set aside the Secretary’s de facto moratorium. The indiscriminate suspension of federal

oil and gas leasing is contrary to law and arbitrary and capricious.

                      JURISDICTION AND GROUNDS FOR RELIEF

       1.      This Court has jurisdiction over this Petition under 28 U.S.C. § 1331 because the

claims presented arise under federal law and 5 U.S.C. §§ 702 and 706 which waive the Secretary’s

sovereign immunity.

       2.      Venue is proper in this Court under 28 U.S.C. § 1391(e) because Petitioner, the

State of Wyoming, resides within the District of Wyoming and because a substantial part of the

property subject to the action is situated in the District of Wyoming.



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         3.      The State of Wyoming challenges the Secretary’s final agency action suspending

federal oil and gas leasing, including the postponement of the March 2021 Wyoming oil and gas

lease sale. Regardless of the label, the Secretary’s action to pause, postpone, cancel, or otherwise

suspend federal oil and gas lease sales is a moratorium and is a final agency action subject to

review in this Court. See Western Energy Alliance v. Jewell, 1:16-cv-912, 2017 WL 3600740, at

*14 (D.N.M. Jan. 13, 2017) (finding agency action includes compelling the Bureau of Land

Management to comply with quarterly leasing requirements in the Mineral Leasing Act).

         4.      The Secretary’s action is in fact a moratorium because Executive Order 14008

orders the Secretary to “pause new oil and natural gas leases on public lands or in offshore waters.”

86 Fed. Reg. 7619, 7624-25 (Feb. 1, 2021). Legal consequences flow from executive actions which

suspend or authorize an entire class of activity on federal land and constitute final agency action

subject to review by this Court. See, e.g., Citizens for Clean Energy v. U.S. Dep’t of Interior, 384

F. Supp. 3d 1264, 1280-81 (D. Mont. 2019) (finding that revocation of a coal leasing moratorium

is a final agency action) (citing Bennett v. Spear, 520 U.S. 154, 177-78 (1997)).

         5.      The Secretary implemented the moratorium when the Secretary postponed

scheduled federal oil and gas lease sales. Absent a formal order, the Secretary’s action halted

pending 2021 quarterly Bureau of Land Management (BLM) and Bureau of Ocean Energy

Management (BOEM) lease sales.

                 a.     On January 27, 2021, the same day President Biden issued Executive Order

         14008, the Nevada BLM State Office issued an errata postponing the oil and gas lease sale

         scheduled for March 9, 2021. 1




1
    https://www.blm.gov/sites/blm.gov/files/docs/2021-01/NV_OG_20210309_Sale_Errata_1.pdf
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              b.      On February 12, 2021, the Wyoming BLM State Office updated the posting

       for the March 2021 lease sale to note that the Wyoming lease sale was “postponed to

       confirm the adequacy of the underlying environmental analysis.” 2 No further reasoning

       was provided for the postponement.

              c.      On February 12, 2021, the Montana/Dakotas BLM State Office updated the

       posting for the March 23, 2021 lease sale to indicate that the scheduled sale was paused

       and/or postponed. 3

              d.      On February 12, 2021, the Utah and Colorado BLM State Offices

       announced that oil and gas lease sales scheduled for March 2021 were canceled and/or

       postponed. 4

              e.      On February 18, 2021, BOEM rescinded the record of decision for the

       March 17, 2021 Gulf of Mexico Outer Continental Shelf oil and gas Lease Sale 257 “to

       comply with Executive Order 14008.” 86 Fed. Reg. 10132 (Feb. 18, 2021).

              f.      On February 23, 2021, BOEM rescinded the public review period for the

       Cook Inlet, Alaska oil and gas Lease Sale 258 consistent with Executive Order 14008. 86

       Fed. Reg. 10994 (Feb. 23, 2021).

              g.      The BLM is required to post notices of competitive lease sales at least 90-

       days prior to conducting a competitive auction. 43 C.F.R. § 3120.4-1; BLM Manual

       3120.52. Typically, the Wyoming BLM State Office posts those notices well before the

       90-day deadline. To date, the Wyoming BLM State Office has yet to post a notice or



2
  https://eplanning.blm.gov/eplanning-ui/project/2003625/570
3
  https://eplanning.blm.gov/eplanning-ui/project/2002224/510
4
  https://eplanning.blm.gov/eplanning-ui/project/2003697/510;
https://www.blm.gov/programs/energy-and-minerals/oil-and-gas/leasing/regional-lease-
sales/colorado
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       environmental compliance documentation on the Wyoming lease sale scheduled for the

       third week of June 2021.

However cleverly disguised, the Secretary’s action is subject to judicial review because the

Secretary’s implementation of Executive Order 14008 directly and immediately impacted

scheduled oil and gas lease sales. See Western Watersheds Project v. Zinke, 336 F. Supp. 3d 1204,

1226-27 (D. Idaho 2018). As a final agency action, the Secretary’s de facto moratorium is subject

to review in this Court. 5 U.S.C. § 702; see also Olenhouse v. Commodity Credit Corp., 42 F.3d

1560, 1580 (10th Cir. 1994); and Local Rule 83.6(a)(1).

       6.      The State of Wyoming has multiple, legally-protectable interests at stake in this

litigation. Wyoming receives 48 percent of the bonuses, production royalties, and other revenues

from oil and gas leasing on federal lands. See 30 U.S.C. § 191(a) & (b). Federal mineral leasing

revenues distributed to Wyoming support public schools, highways, local governments, and the

state’s budget reserve account. The Secretary’s action has deprived and will continue to deprive

Wyoming of the revenue collected from bonus bids, rents, and other revenues associated with

quarterly federal oil and gas lease sales including revenue from the postponed March 2021

Wyoming lease sale. The Secretary’s action also denied the State of Wyoming and the public with

an opportunity to participate in the decision-making process. The Federal Land Policy and

Management Act (FLPMA) requires the Secretary to give notice and an opportunity to comment

on public land management decisions. See, e.g., 43 U.S.C. §§ 1739(e); 1712(f); & 1714(h).

Similarly, a hallmark principle of the National Environmental Policy Act (NEPA) is to provide

government entities and the public with meaningful opportunities to participate in federal actions

that significantly impact the human environment. See, e.g., 42 U.S.C. §§ 4331(a); 4332(C); and

40 C.F.R. § 1501.7.



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       7.      The Secretary’s action violated FLPMA by unlawfully withdrawing the entire

public domain from federal oil and gas leasing. The Secretary’s action falls squarely within the

definition of “withdrawal” under FLPMA. See 43 U.S.C. § 1702(j); Mountain States Legal Found.

v. Andrus, 499 F. Supp. 383, 390-91 (D. Wyo. 1980). The Secretary’s withdrawal violated FLPMA

by failing to comply with the procedural requirements of the Act. See, e.g., 43 U.S.C. §§ 1714 and

1739(e).

       8.      The Secretary’s action violates the existing land use plans, also known as Resource

Management Plans (RMPs) and FLPMA. FLPMA and its implementing regulations require the

Secretary to manage public lands in a manner that conforms to existing land use plans. Norton v.

S. Utah Wilderness All., 542 U.S. 55, 69 (2004); see also 43 U.S.C. § 1732(a). “If a resource

management plan authorizes oil and gas development on certain land parcels, BLM must sell leases

for those parcels on a quarterly basis.” WildEarth Guardians v. Bernhardt, --- F. Supp. 3d ---, 2020

WL 6701317, at *3 (D.D.C. Nov. 13, 2020) (citing 30 U.S.C. § 226(b)(1)(A); 43 C.F.R. § 3120.1-

2). If changes are made to a land use plan, FLPMA requires the Secretary to complete a formal

amendment process. 43 C.F.R. § 1610.5–5. The Secretary’s action violates the RMPs and FLPMA

because the Secretary failed to amend the existing land use plans before implementing Executive

Order 14008.

       9.      The Secretary violated the Mineral Leasing Act (MLA) by suspending all federal

oil and gas leasing. The MLA is intended to promote the orderly development of the oil and gas

deposits in the publicly owned lands of the United States through private enterprise. Harvey v.

Udall, 384 F.2d 883, 885 (10th Cir. 1967). The MLA and the associated regulations, with limited

exceptions not present here, require quarterly lease sales. See Western Energy Alliance v. Zinke,




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877 F.3d 1157, 1161 (10th Cir. 2017) (citing 30 U.S.C. § 226(b)(1)(A) and 43 C.F.R. § 3120.1-

2(a)). The Secretary’s action to suspend quarterly lease sales is contrary to law.

       10.     The Secretary’s action was arbitrary and capricious because the Secretary failed to

provide any reasoning for its decision to suspend federal oil and gas leasing. When an agency has

not stated any reasons to support a decision, its decision is arbitrary and capricious for failure to

“articulate a satisfactory explanation….” Devon Energy Production Co. v. Gould, 421 F. Supp. 3d

1213, 1221 (D. Wyo. 2019) (citing Motor Vehicle Mfrs. Ass’n of U.S. v. State Farm Mut. Auto Ins.

Co., 463 U.S. 29, 43 (1983)). The Secretary’s implementation of a nationwide policy upending the

federal oil and gas leasing program required an explanation. See Western Watersheds Project v.

Zinke, 441 F. Supp. 3d 1042, 1073 (D. Idaho 2020). Because the Secretary departed from prior

policy sub silentio and failed to provide an explanation for the new policy, this Court may set aside

the Secretary’s action as arbitrary and capricious. See F.C.C. v. Fox Television Stations, Inc., 556

U.S. 502, 515 (2009); and 5 U.S.C. § 706(2)(A).

       11.     The Secretary’s action violated NEPA by failing to assess the environmental

impacts of the Secretary’s action before suspending all federal oil and gas lease sales. NEPA

requires Federal agencies to take a “hard look” at the environmental impacts of major federal

actions. Robertson v. Methow Valley Citizens Council, 490 U.S. 332, 348-50 (1989).

Implementation of a nationwide policy is a major federal action that “significantly affect[s] the

quality of the human environment” and in such circumstances NEPA requires the preparation of a

detailed environmental impact statement. See 42 U.S.C. § 4332(2)(C); see also 40 C.F.R. §

1508.1(q)(3). The Secretary’s decision to suspend federal oil and gas leasing without preparing an

environmental impact statement violates NEPA and denied the State of Wyoming and the public




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their right to participate in informed decision-making. See Western Watersheds Project v. Zinke,

441 F. Supp. 3d 1042, 1069-70 (D. Idaho 2020).

        12.     The Administrative Procedure Act (APA) requires courts to hold unlawful and set

aside agency action that is arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law. 5 U.S.C. § 706(2)(A). Additionally, the APA requires courts to hold unlawful

and set aside agency action found to be in excess of statutory jurisdiction, authority, or limitation,

or short of statutory right. Id. § 706(2)(C).

        13.     The Secretary’s action is arbitrary, capricious, an abuse of discretion, or otherwise

not in accordance with law. 5 U.S.C. § 706(2)(A).

        14.     The Secretary’s action failed to observe procedure required by law. 5 U.S.C. §

706(2)(D).

        15.     The Secretary unlawfully withheld agency action. 5 U.S.C. § 706(1).

        16.     For these and other reasons that will be more fully detailed in the State of

Wyoming’s merits briefs, the Secretary’s action must be set aside.

        WHEREFORE Petitioner requests that this Court:

        A.      Declare that the Secretary’s action violates FLPMA, the MLA, NEPA, and the

APA;

        B.      Set aside and vacate the Secretary’s action;

        C.       Preliminarily and permanently enjoin the Secretary from implementing either

formally, or as a matter of fact, a moratorium on federal oil and gas lease sales in Wyoming and

across the nation;

        D.      Compel the Secretary to hold quarterly lease sales including the First Quarter 2021

Wyoming federal oil and gas lease sale;



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       E.      Enter other preliminary or permanent injunctive relief as the State of Wyoming may

hereafter specifically seek; and

       F.      Grant the State of Wyoming such additional relief as the Court deems just and

proper to remedy the Secretary’s violations of law and to protect the State of Wyoming’s interests.



       Submitted this 24th day of March, 2021.


                                             FOR THE STATE OF WYOMING


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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on the 24th day of March, 2021, a true and correct

copy of the foregoing was served upon the following via United States mail, first class, certified,

return receipt requested:

 U.S. Department of the Interior                  Bureau of Land Management
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 Washington, DC 20240                             Grand Junction, CO 81506

 Honorable Debra Haaland, Secretary               Nada Culver, Acting Director
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                                             /s/ Travis Jordan
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